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AO 440 (Rev. 05/00) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

SUMMONS IN A CIVIL CASE
Shelly Cruz,
Plaintiff,
CASE NUMBER: 1:20-ev-195
. ASSIGNED JUDGE:
& Kennelly
Harris & Harris, Ltd., an Illinois corporation. DESIGNATED
MAGISTRATE JUDGE: Schenkier
Defendant.

TO: (Name and address of Defendant)

Harris & Harris, Ltd.

c/o MS Registered Agent Services, as registered agent
191 N. Wacker Drive

Suite 1800

Chicago, Illinois 60606

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

David J. Philipps

Philipps & Philipps, Ltd.

9760 S. Roberts Road, Suite One
Palos Hills, Illinois 60465

(708) 974-2900

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a

an answer to the complaint which is herewith served upon you, days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

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THOMAS G. BRUTON, CLERK

LT A.

January 10, 2020

 

 

(By) DEPUTY CLERK ‘EN gr fat DATE

 
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Civil Action No. 1:20 CV 195

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) Harris & Harris, Ltd. c/o MS Registered Agent Services, as
registered agent was received by me on (date) Jan 13, 2020, 10:11 pm.

I personally served the summons on the individual at (place) on (date)

; or
I left the summons at the individual’s residence or usual place of abode with (name) 5a
person of suitable age and discretion who resides there, on (date) , and mailed a copy
to the individual’s last known address; or

I served the summons on (name of individual) Bonnie yancy , who is designated by law to accept service of
process on behalf of (name of organization) Harris & Harris, Ltd. c/o MS Registered Agent Services, as
registered agent on (date) Thu, Jan 16 2020 ; or

I returned the summons unexecuted because: ; OF

UU & UL

Other: : Or

My fees are $ for travel and $ for services, for a total of $ $0.00.

I declare under penalty of perjury that this information is true.

Date: [/1 (2020

 

Server's signature

Kyle Clutter 115-002370

 

Printed name and title

116 W Jackson Suite 254, Chicago , IL 60604

 

Server's address

Additional information regarding attempted service, etc.:
1} Successful Attempt: Jan 16, 2020, 3:25 pm CST at Company: 191 N. Wacker Drive SUITE 1800, CHICAGO, IL 60606
received by Bonnie yancy. Relationship: Authorized Agent ;
